IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
CIVIL ACTION NO. 1:07-CV-48

MASON P. ASHE d/b/a ASHE SPORTS
& ENTERTAINMENT CONSULTING,
INC., a North Carolina Corporation,

Applicant,
DISMISSAL WITH PREJUDICE

VS.

)
)
)
)
)
) STIPULATION OF VOLUNTARY
)
)
DAUNTE CULPEPPER, )
)
)

Respondent.

 

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Applicant Mason P.
Ashe d/b/a Ashe Sports & Entertainment Consulting, Inc. and Respondent Daunte Culpepper,
through counsel, hereby stipulate to the dismissal of this civil action with prejudice.

This the 19" day of April, 2007.

/s/ William K. Davis

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-|-

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Applicant, )
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VS. )
)
DAUNTE CULPEPPER, )
)
)

Respondent.

 

CERTIFICATE OF SERVICE

I hereby certify that on April 19, 2007, I electronically filed the foregoing Stipulation of
Dismissal with Prejudice with the Clerk of the Court using the CM/ECF filing system which will
send notification of such filing to the following: Rebecca H. Miller, Esq. and Daniel E. Traver,
Esq., counsel for Respondent Daunte Culpepper.

 

 

 

Respectfully submitted,

/s/ Michael D, Phillips

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